                    Case 21-09946            Doc 1       Filed 08/25/21 Entered 08/25/21 16:39:44                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Technoco Inc.

2.   All other names debtor
     used in the last 8 years
                                  d/b/a Crown Marketing Group of Illinois
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  4350 Lincoln Highway, Suite 220
                                  Matteson, IL 60443                                               4532 S Oakenwald Ave, Chicago, IL 60653
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                           Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 4532 S Oakenwald Ave, Chicago, IL 60653

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Technoco Inc.                                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
     A debtor who is a “small
     business debtor” must check                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     the first sub-box. A debtor as                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     defined in § 1182(1) who                                    $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     elects to proceed under                                     operations, cash-flow statement, and federal income tax return or if any of these documents do not
     subchapter V of chapter 11                                  exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     (whether or not the debtor is a                             The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     “small business debtor”) must                               debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
     check the second sub-box.                                   proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                 Case number
                                                 District                                 When                                 Case number

10. Are any bankruptcy cases              No        Jeremy Lyn Johnson, Case No. 21-09324
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




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Debtor    Technoco Inc.                                                                                   Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




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Debtor    Technoco Inc.                                                                            Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and
    signature of authorized     The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                I have been authorized to file this petition on behalf of the debtor.

                                I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                Executed on       August 25, 2021
                                                  MM / DD / YYYY


                            X                                                                                       Jeremy Lyn Johnson
                                Signature of authorized representative of debtor                          Printed name

                                Title    50% shareholder, Officer and Director
                            X
                                                                                                                    Antoine Johnson
                                         Signature of authorized representative of debtor

                                Title    50% shareholder, Officer and Director

                                         /s/John H. Redfield
18. Signature of attorney   X                                                                             08/25/2021
                                Signature of attorney for debtor                                                  MM / DD / YYYY

                                 Printed name

                                 Crane, Simon, Clar & Goodman
                                 Firm name

                                 Suite 3950
                                 135 South LaSalle Street
                                 Chicago, IL 60603-4297
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      312-641-6777                  Email address     jredfield@cranesimon.com

                                 2298090 IL
                                 Bar number and State




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Cedarhurst, NY 11516                  Greenville, SC 29601

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Chicago Ridge Mall                    Main Office Technoco Inc.
444 Chicago Ridge Mall                4350 Lincoln Hwy
Chicago Ridge, IL 60415               Matteson, IL 60443




First Midwest Bank                    Orland Square Mall
8750 West Bryn Mawr Ave.              288 Orland Square Drive
Ste. 1300                             Orland Park, IL 60462
Chicago, IL 60631



Fox Valley Mall                       Rapid Finance
195 Fox Valley Center Drive           4500 E. W. Highway, 6th Fl.
Aurora, IL 60504                      Bethesda, MD 20814




Greiman, Rome & Griesmeyer, LLC       River Oaks Mall
200 W. Madison St.                    96 River Oaks Center
Chicago, IL 60606                     Calumet City, IL 60409




Ikahn Capital                         Small Business Administration
160 Pearl St, 4th Fl.                 401 N. Front St., Ste. 200
New York, NY 10005                    Columbus, OH 43215




Internal Revenue Service              Southlake Mall
PO Box 7346                           2109 Southlake Mall
Philadelphia, PA 19101-7346           Merrillville, IN 46410




Internal Revenue Service              State of Illinois Department of
200 N. High St.                       P.O. Box 19447
Columbus, OH 43215                    Springfield, IL 62794




Joliet Mall
3340 Mall Loop Dr.
Joliet, IL 60431




Kabbage
925B Peachtree St NE
Ste. 1688
Atlanta, GA 30309
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                                                               United States Bankruptcy Court
                                                                     Northern District of Illinois
 In re      Technoco Inc.                                                                                Case No.
                                                                                 Debtor(s)               Chapter    7




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Technoco Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 August 25, 2021                                                     /s/ JOHN H. REDFIELD
 Date                                                                JOHN H. REDFIELD
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Technoco Inc.
                                                                     Crane, Simon, Clar & Goodman
                                                                     Suite 3950
                                                                     135 South LaSalle Street
                                                                     Chicago, IL 60603-4297
                                                                     312-641-6777 Fax:312-641-7114
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